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Munley Law, PC
The Forum Plaza - 227 Penn Avenue
Scranton, PA 18503
570-346-7401

             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ROBERT TAMBASCO and      :
LORI TAMBASCO,           :
         Plaintiffs      :
                         :                   CIVIL ACTION - LAW
     v.                  :
                         :
UNITED STATES DEPARTMENT :
OF ARMY,                 :
TOBYHANNA ARMY DEPOT     :
POLICE DEPARTMENT, and   :
CLAUS D. HENSLEY,        :
          Defendants     :                  No.

                                 COMPLAINT

      NOW come Plaintiffs, Robert Tambasco and Lori Tambasco, by and

through their undersigned counsel, Munley Law, P.C. and aver as follows:

                                   PARTIES

      1.     Plaintiff Robert Tambasco is a competent adult individuals residing at

4816 Live Oak Drive, Colorado Springs, Colorado.

      2.    Plaintiff Lori Tambasco is a competent adult individuals residing at 750

Main Street Tobyhanna, Pennsylvania.

      3.      Defendant Claus D. Hensley is, on information and belief, a
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competent adult individual residing at 2123 Campbell Way, Tobyhanna,

Pennsylvania.

      4.        Defendant United States Department of Army is, on information and

belief, a governmental agency that operates as Tobyhanna Army Depot Police

Department located at 11 Hap Arnold Boulevard, Tobyhanna, PA.

      5.     Defendant Tobyhanna Army Depot Police Department is an agency of

the United States Government and is located at 11 Hap Arnold Boulevard,

Tobyhanna, PA.

                          JURISDICTION AND VENUE

      6.     This action arises under the Federal Tort Claims Act (28 U.S.C.A.

§2671 et seq. and 28 U.S.C.A. §1346).

      7.     Defendant Claus D. Hensley resides in the Middle District of

Pennsylvania and is within the jurisdiction of this Honorable Court.

      8.     Venue is proper pursuant to 28 U.S.C. § 1391(b), as a substantial part of

the events or omissions giving rise to the claim occurred in this district.

             EXHAUSTION OF ADMINISTRATIVE REMEDIES

      9.     A claim for damages was filed with the United States by Plaintiff on or

about October 12, 2016.

      10.    Venue is proper pursuant to 28 U.S.C. § 1391(b), as the act or

omissions complained of occurred in the Middle District of Pennsylvania.
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      11.   On April 12, 2017, Defendant denied this claim.

      12.   Plaintiff has exhausted all administrative remedies in this case.

                          FACTUAL ALLEGATIONS

      13.   On January 1, 2015 at approximately 1:30 am, Plaintiff Robert

Tambasco noticed lights from police vehicles on Main Street, down the road from

his home.

      14.   Plaintiff Robert Tambasco, walked down to the area where the police

vehicles were stopped to see if anyone needed help.

      15.   The police were responding to an unrelated automobile accident.

      16.   Plaintiff Robert Tambasco stayed at the scene of the collision for

approximately 5 to 10 minutes before proceeding back to his home on foot.

      17.   While at the scene of the automobile accident, Plaintiff Robert

Tambasco spoke to Defendant Claus D. Hensley.

      18.   Upon information and belief, Defendant Claus D. Hensley was a

military police office for Defendant United States Department of the Army and was

employed by the Tobyhanna Army Depot Police Department.

      19.   At all times pertinent hereto, Defendant Claus D. Hensley acting within

the course and scope of his employment and was conducting an off post check when

he came across the aforementioned traffic accident.

      20.    At approximately 1:38 am Plaintiff Robert was walking southbound
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on Main street between Church Street and Hap Arnold Boulevard in Tobyhanna,

Pennsylvania.

         21.   At all times pertinent hereto, Plaintiff Robert Tambasco was a

pedestrian who was lawfully walking southbound on the shoulder of Main Street and

was as close as practicable to the edge of the roadway.

         22.   At the aforementioned time, there were no adverse conditions or other

obstructions affecting motorists’ view of the area where Mr. Tambasco was walking.

         23.   At approximately 1:38 am Defendant Claus D. Hensley left the scene

and began heading south on Main Street to continue his off post patrol.

         24.     At all times pertinent hereto, Defendant Claus D. Hensley was

operating a 2013 Ford F10 pickup truck, United States Military License registration

number G62296N/ZG, traveling southbound on Main Street in Tobyhanna,

Pennsylvania.

         25.   At approximately 1:38 am, Defendant Claus D. Hensley operated the

Ford truck in such a careless, reckless and negligent manner that struck Robert

Tambasco, a pedestrian, striking him and throwing him to the ground and further

causing Robert Tambasco to suffer such injuries as are hereinafter more fully set

forth.

         26.   As a result of the aforesaid accident, Robert Tambasco has suffered, yet

suffers and will/may suffer from for an indefinite time in the future, multiple
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injuries, including, but not limited to, right tibial plateau fracture; right medial

meniscus and ACL tear; left fibula head fracture; transverse process fractures of

L1-L4; left rib fracture #12; left 1st metacarpal fracture; neck pain, bilateral shoulder

pain, abdominal pain; lower bilateral back pain; swelling and bruising to his right

eye; laceration to the back of his head; moderate depth abrasion to right side of his

abdomen; swelling in the ankles and shin; bilateral knee abrasions; abrasion to right

elbow; avulsion to left pointer finger; post traumatic syndrome disorder, and shock

to his nerves and nervous system, all of which have caused him, continue to cause

him and will/may cause him for an indefinite time in the future, great pain, agony

and suffering, both physical and mental.

      27.     As a result of the aforesaid accident and injuries sustained, Robert

Tambasco has been forced to undergo medical treatment, including surgeries, and

will/may be forced to undergo medical treatment for an undetermined time in the

future.

      28.     As a result of the aforesaid accident and injuries sustained, Plaintiffs

Robert Tambasco and Lori Tambasco has expended, yet expends and will/may

expend for an indefinite time in the future various and substantial sums of money for

the medicine, equipment, rehabilitation and medical attention in and about

endeavoring to treat and cure Robert Tambasco, all to their great financial loss and

damage.
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      29.    As a result of the aforesaid accident and injuries sustained, Robert

Tambasco has been, still is and will/may for an indefinite time in the future, be

unable to go about his usual and daily occupations and routines.

      30.    As a result of the aforesaid accident and injuries sustained, Robert

Tambasco has been, still is and will/may for an indefinite time in the future be forced

to forgo the pleasures of life.

      31.    As a result of the accident and injuries sustained, Robert Tambasco has

suffered, still suffers and will/may continue to suffer wage diminution or lessening

of his earning power and earning capacity, and will/may continue to suffer same

forever in the future.

                                    COUNT ONE

                         Robert Tambasco v. Claus D. Hensley

                                      Negligence

      32.       Paragraphs 1-31 above are incorporated herein by reference as if

fully set forth here at length.

      33.    The aforesaid accident was due solely to the negligent conduct, careless

conduct and/or reckless and/or wanton and/or willful misconduct of Defendants and

in no way due to any negligent act or failure to act on the part of the Plaintiff.

      34.    The negligent conduct, careless conduct and/or gross, wanton and

reckless conduct of Defendant Claus Dr. Hensley consisted of the following:
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    a.    Failure to keep a proper lookout;

    b.    Failure to properly observe the roadway and pedestrians on the

          roadway;

    c.    Failure to properly observe the roadway;

    d.    Failure to properly brake his vehicle

    e.    Failure to properly control his vehicle;

    f.    Failure to take proper and evasive action;

    g.    Failure to keep his eyes on the roadway;

    h.    Failure to stop his vehicle within the assured clear distance ahead

          in violation of 75 Pa. C.S.A. §3361;

    i.    Failure to maneuver his vehicle so as to avoid a collision;

    j.    Failure to remain attentive and to maintain a sharp lookout for

          the conditions of travel;

    k.    Failure to exercise a degree of care which an ordinary and

          prudent person would have done under the circumstances;

    l.    Operating his vehicle without due regard for the rights, safety

          and position of Robert Tambasco lawfully walking on the

          roadway;

    m.    Operating his vehicle so as to bring it into sudden, forcible

          contact with Robert Tambasco;
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      n.    Failure to give warning of his approach;

      o.    Failure to exercise a degree of care which an ordinary and

            prudent person would have done under the circumstances;

      p.    Failure to remain attentive and to maintain a sharp lookout for

            pedestrians;

      q.    Operating his vehicle at a speed greater than that which was

            reasonable and prudent under the circumstances in violation 75

            Pa.C.S.A. §3361;

      r.    Operating his vehicle while being distracted;

      s.    Driving a vehicle with willful or wanton disregard for the safety

            of persons or property in violation of 75 Pa.C.S.A. §3736;

      t.    Failure to obey the rules of the road, the statutes of the

            Commonwealth of Pennsylvania and the ordinances of the

            Township of Tobyhanna in and about operating his vehicle on

            the highways and roadways of the Commonwealth of

            Pennsylvania; and

      u.    Such other negligent acts and omissions which shall be

            discovered under the applicable Federal Rules of Civil

            Procedure.

35.   As a result of the above-stated acts and omissions, Robert Tambasco
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has suffered such harm as has been previously stated herein.

      WHEREFORE, Plaintiff Robert Tambasco demands judgment in his favor

and against Defendant Claus D. Hensley, in an amount in excess of $75,000.00 plus

delay damages, costs and such other relief as this Court deems appropriate.

                                   COUNT TWO

                        Lori Tambasco v. Claus D. Hensley

                                Loss of Consortium

      36.    Paragraphs 1-35 above are incorporated herein by reference as if fully

set forth here at length.

      37.    At all times pertinent, Plaintiff Lori Tambasco was and is the wife of

Plaintiff Robert Tambasco.

      38.    Solely due to the negligent conduct, careless conduct and gross, wanton

and/or reckless conduct of Defendant Claus D. Hensley in causing the injuries to

Plaintiff Robert Tambasco, Lori Tambasco, as wife of Plaintiff Robert Tambasco

has been, yet is and will forever in the future be obliged to expend various sums of

money for medicine and medical attention in and about endeavoring to treat and cure

her husband of his injuries.

      39.    By reason of the aforesaid accident, Plaintiff Lori Tambasco has been,

yet is, and will be in the future deprived of the assistance and society of her husband,

all of which has been and will be to her great financial loss and detriment.
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            WHEREFORE, Plaintiffs demand judgment against Defendant Claus D.

Hensley in an amount in excess of $75,000.00 plus interest, costs and such other

relief as this Court deems appropriate.



                                  COUNT THREE

              Robert Tambasco v. United States Department of Army

                                      Negligence

      40.     Paragraphs 1-39 above are incorporated herein by reference as if fully

set forth here at length.

      41.     The aforesaid accident was due solely to the negligent conduct, careless

conduct and/or reckless and/or wanton and/or willful misconduct of Defendants and

in no way due to any negligent act or failure to act on the part of the Plaintiff.

      42.     The negligent conduct, careless conduct and/or gross, wanton and

reckless conduct of Defendant United States Department of Army, by and through

the acts and or omissions of its agents and/or employees, including but not limited to

Defendant Claus D. Hensley consisted of the following:

              a.    Failure to keep a proper lookout;

              b.    Failure to properly observe the roadway and pedestrians on the

                    roadway;

              c.    Failure to properly observe the roadway;
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    d.    Failure to properly brake his vehicle

    e.    Failure to properly control his vehicle;

    f.    Failure to take proper and evasive action;

    g.    Failure to keep his eyes on the roadway;

    h.    Failure to stop his vehicle within the assured clear distance ahead

          in violation of 75 Pa. C.S.A. §3361;

    i.    Failure to maneuver his vehicle so as to avoid a collision;

    j.    Failure to remain attentive and to maintain a sharp lookout for

          the conditions of travel;

    k.    Failure to exercise a degree of care which an ordinary and

          prudent person would have done under the circumstances;

    l.    Operating his vehicle without due regard for the rights, safety

          and position of Robert Tambasco lawfully walking on the

          roadway;

    m.    Operating his vehicle so as to bring it into sudden, forcible

          contact with Robert Tambasco;

    n.    Failure to give warning of his approach;

    o.    Failure to exercise a degree of care which an ordinary and

          prudent person would have done under the circumstances;

    p.    Failure to remain attentive and to maintain a sharp lookout for
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                   pedestrians;

            q.     Operating his vehicle at a speed greater than that which was

                   reasonable and prudent under the circumstances in violation 75

                   Pa.C.S.A. §3361;

            r.     Operating his vehicle while being distracted;

            s.     Driving a vehicle with willful or wanton disregard for the safety

                   of persons or property in violation of 75 Pa.C.S.A. §3736;

            t.     Failure to obey the rules of the road, the statutes of the

                   Commonwealth of Pennsylvania and the ordinances of the

                   Township of Tobyhanna in and about operating his vehicle on

                   the highways and roadways of the Commonwealth of

                   Pennsylvania; and

            u.     Such other negligent acts and omissions which shall be

                   discovered under the applicable Federal Rules of Civil

                   Procedure.

      43.   The negligent conduct, careless conduct, and gross, wanton and

reckless conduct of Defendant United States Department of Army, in its own right,

consisted of the following:

            a.     negligently entrusting Defendant Claus D. Hensley with the

                   vehicle when they knew or should have known that Defendant
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                   Claus D. Hensley lacked sufficient skill, judgment and prudence

                   in the operation of a motor vehicle;

             b.    failing to adequately instruct Defendant Claus D. Hensley in the

                   safe operation of a motor vehicle before entrusting him with the

                   vehicle;

             c.    failing to prevent Defendant Claus D. Hensley from operating

                   the vehicle until he had sufficient ability to operate the motor

                   vehicle safely; and

             d.    failing to adequately ascertain that Defendant Claus D. Hensley

                   lacked the ability necessary to safely operate the vehicle under

                   the circumstances.

      44.    As a result of the above-stated acts and omissions, Plaintiff Robert

Tambasco has suffered such harm as has been previously stated herein.

             WHEREFORE, Plaintiff Robert Tambasco demands judgment against

Defendant United States Department of Army in an amount in excess of $75,000.00

plus interest, costs and other such relief as this Court deems appropriate.

                                  COUNT FOUR

             Lori Tambasco v. United States Department of Army

                                Loss of Consortium

      45.    Paragraphs 1-44 above are incorporated herein by reference as if fully
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set forth here at length.

      46.     At all times pertinent, Plaintiff Lori Tambasco was and is the wife of

Plaintiff Robert Tambasco.

      47.     Solely due to the negligent conduct, careless conduct and gross, wanton

and/or reckless conduct of Defendant United States Department of Army in causing

the injuries to Plaintiff Robert Tambasco, Lori Tambasco, as wife of Plaintiff Robert

Tambasco has been, yet is and will forever in the future be obliged to expend various

sums of money for medicine and medical attention in and about endeavoring to treat

and cure her husband of his injuries.

      48.     By reason of the aforesaid accident, Plaintiff Lori Tambasco has been,

yet is, and will be in the future deprived of the assistance and society of her husband,

all of which has been and will be to her great financial loss and detriment.

            WHEREFORE, Plaintiffs demand judgment against Defendant United

States Department of Army in an amount in excess of $75,000.00 plus interest,

costs and such other relief as this Court deems appropriate.

                                   COUNT FIVE

       Robert Tambasco v. Tobyhanna Army Depot Police Department

                                     Negligence

      49.     Paragraphs 1-48 above are incorporated herein by reference as if fully

set forth here at length.
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      50.    The aforesaid accident was due solely to the negligent conduct, careless

conduct and/or reckless and/or wanton and/or willful misconduct of Defendants and

in no way due to any negligent act or failure to act on the part of the Plaintiff.

      51.    The negligent conduct, careless conduct and/or gross, wanton and

reckless conduct of Defendant Tobyhanna Army Depot Police Department, by and

through the acts and or omissions of its agents and/or employees, including but not

limited to Defendant Claus D. Hensley consisted of the following:

             a.     Failure to keep a proper lookout;

             b.     Failure to properly observe the roadway and pedestrians on the

                    roadway;

             c.     Failure to properly observe the roadway;

             d.     Failure to properly brake his vehicle

             e.     Failure to properly control his vehicle;

             f.     Failure to take proper and evasive action;

             g.     Failure to keep his eyes on the roadway;

             h.     Failure to stop his vehicle within the assured clear distance ahead

                    in violation of 75 Pa. C.S.A. §3361;

             i.     Failure to maneuver his vehicle so as to avoid a collision;

             j.     Failure to remain attentive and to maintain a sharp lookout for

                    the conditions of travel;
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    k.    Failure to exercise a degree of care which an ordinary and

          prudent person would have done under the circumstances;

    l.    Operating his vehicle without due regard for the rights, safety

          and position of Robert Tambasco lawfully walking on the

          roadway;

    m.    Operating his vehicle so as to bring it into sudden, forcible

          contact with Robert Tambasco;

    n.    Failure to give warning of his approach;

    o.    Failure to exercise a degree of care which an ordinary and

          prudent person would have done under the circumstances;

    p.    Failure to remain attentive and to maintain a sharp lookout for

          pedestrians;

    q.    Operating his vehicle at a speed greater than that which was

          reasonable and prudent under the circumstances in violation 75

          Pa.C.S.A. §3361;

    r.    Operating his vehicle while being distracted;

    s.    Driving a vehicle with willful or wanton disregard for the safety

          of persons or property in violation of 75 Pa.C.S.A. §3736;

    t.    Failure to obey the rules of the road, the statutes of the

          Commonwealth of Pennsylvania and the ordinances of the
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                   Township of Tobyhanna in and about operating his vehicle on

                   the highways and roadways of the Commonwealth of

                   Pennsylvania; and

            u.     Such other negligent acts and omissions which shall be

                   discovered under the applicable Federal Rules of Civil

                   Procedure.

      52.   The negligent conduct, careless conduct, and gross, wanton and

reckless conduct of Defendant Tobyhanna Army Depot Police Department,, in its

own right, consisted of the following:

            a.     negligently entrusting Defendant Claus D. Hensley with the

                   vehicle when they knew or should have known that Defendant

                   Claus D. Hensley lacked sufficient skill, judgment and prudence

                   in the operation of a motor vehicle;

            b.     failing to adequately instruct Defendant Claus D. Hensley in the

                   safe operation of a motor vehicle before entrusting him with the

                   vehicle;

            c.     failing to prevent Defendant Claus D. Hensley from operating

                   the vehicle until he had sufficient ability to operate the motor

                   vehicle safely; and

            d.     failing to adequately ascertain that Defendant Claus D. Hensley
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                    lacked the ability necessary to safely operate the vehicle under

                    the circumstances.

      53.    As a result of the above-stated acts and omissions, Plaintiff Robert

Tambasco has suffered such harm as has been previously stated herein.

             WHEREFORE, Plaintiff Robert Tambasco demands judgment against

Defendant Tobyhanna Army Depot Police Department, in an amount in excess of

$75,000.00 plus interest, costs and other such relief as this Court deems appropriate.

                                   COUNT SIX

         Lori Tambasco v. Tobyhanna Army Depot Police Department

                                Loss of Consortium

      54.    Paragraphs 1-53 above are incorporated herein by reference as if fully

set forth here at length.

      55.    At all times pertinent, Plaintiff Lori Tambasco was and is the wife of

Plaintiff Robert Tambasco.

      56.    Solely due to the negligent conduct, careless conduct and gross, wanton

and/or reckless conduct of Defendant Tobyhanna Army Depot Police Department,

in causing the injuries to Plaintiff Robert Tambasco, Lori Tambasco, as wife of

Plaintiff Robert Tambasco has been, yet is and will forever in the future be obliged

to expend various sums of money for medicine and medical attention in and about

endeavoring to treat and cure her husband of his injuries.
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      57.     By reason of the aforesaid accident, Plaintiff Lori Tambasco has been,

yet is, and will be in the future deprived of the assistance and society of her husband,

all of which has been and will be to her great financial loss and detriment.

            WHEREFORE, Plaintiffs demand judgment against Defendant

Tobyhanna Army Depot Police Department, in an amount in excess of $75,000.00

plus interest, costs and such other relief as this Court deems appropriate.

                                        MUNLEY LAW, P.C.



                                 By: /s/ Daniel Webster Munley, Esq.
                                        Daniel Webster Munley, Esq.
                                        Pa. Id. No. 77441
                                        Attorney for Plaintiffs

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